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 7
 8
                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ARIZONA
 9
10
     RAEANN PATTON,                                  Case No.: 2:16-cv-02983-JJT
11
12                Plaintiffs,                        FIRST AMENDED COMPLAINT
           vs.                                       AND DEMAND FOR JURY TRIAL
13                                                   FOR VIOLATIONS OF:
   STERLING JEWELERS, INC;
14 SPRINGLEAF FINANCE, INC;                          1. THE FAIR CREDIT REPORTING
   SPRINGLEAF FINANCIAL                                 ACT [15 USC § 1681 et. seq.];
15 SERVICES, INC.; and EXPERIAN
16 INFORMATION SOLUTIONS, INC.
17                Defendants.
18
                                       INTRODUCTION
19
20   1. RaeAnn Patton (“Plaintiff”) brings this action to secure redress from Sterling
21
         Jewelers, Inc. (aka “Kay Jewelers”), Springleaf Finance, Inc. Springleaf
22
23       Financial Services, Inc. (“Springleaf”), Experian Information Solutions Inc.
24
         (“Experian”) (herein collectively as “Defendants”) for violations of the Fair
25
26       Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et. seq., and their agents
27
         for their illegal reporting on Plaintiffs’ credit report.
28
29
30   COMPLAINT                                   1
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 1                                        PARTIES
 2
     2. Plaintiff RaeAnn Patton (hereinafter “Plaintiff”) is a consumer, a natural
 3
 4       person, allegedly obligated to pay a debt, and a citizen of the United States of
 5
         America who presently resides in Maricopa County, Arizona.
 6
 7   3. Defendant, Kay Jewelers, engages in the practice of furnishing consumer
 8
         information to consumer reporting agencies, and is therefore a “furnisher of
 9
10       information” as contemplated by 15 U.S.C. § 1681s-2(a) & (b). Kay Jeweler’s
11
         principle place of business is located in Indiana. Kay Jewelers regularly
12
13       transacts business throughout the United States including Arizona. Defendant
14
         Kay Jewelers can be served through its registered agent at 3800 N. Central
15
16       Ave., Suite 460, Phoenix, Arizona 85012.
17
     4. Defendant, Springleaf, engages in the practice of furnishing consumer
18
19       information to consumer reporting agencies, and is therefore a “furnisher of
20
21
         information” as contemplated by 15 U.S.C. § 1681s-2(a) & (b). Springleaf’s
22       principle place of business is located in Ohio Evansville, IN. Springleaf
23
24       regularly transacts business throughout the United States including Arizona.
25
         Defendant Springleaf can be served through its registered agent at 3800 N.
26
27       Central Ave., Suite 460, Phoenix, Arizona 85012.
28
29
30   COMPLAINT                                 2
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 1   5. Defendant, Experian is a credit reporting agency, as defined in 15 USC
 2
         1681a(f). On information and belief, Defendant is regularly engaged in the
 3
 4       business of assembling, evaluating, and disbursing information concerning
 5
         consumers for the purpose of furnishing consumer reports, as defined in 15
 6
 7       USC 1681a(d), to third parties. Experian can be served through its registered
 8
         agent CT Corporation System located at 3800 N Central Ave., Suite 460,
 9
10       Phoenix Arizona 85012.
11
     6. On information and belief, Defendant Experian disburses the consumer
12
13       reports to third parties under contract for monetary compensation.
14
     7. At all relevant times, Defendants acted through duly authorized agents,
15
16       employees, officers, members, directors, heirs, successors, assigns, principals,
17
         trustees, sureties, subrogees, representatives, and insurers.
18
19                                    JURISDICTION
20
21
     8. The District Court has federal question jurisdiction over these claims pursuant
22       to 28 U.S.C. § 1331 and 15 U.S.C. 1681.
23
24   9. Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a
25
         substantial part of the events or omissions giving rise to the claim occurred in
26
27       this District. Because Defendants transact business here, personal jurisdiction
28
         is established.
29
30   COMPLAINT                                 3
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 1                              FACTUAL ALLEGATIONS
 2
     10. On November 14, 2013, Plaintiff filed Chapter 7 Bankruptcy in the Phoenix
 3
 4       District of Arizona: Case number 2:13-bk-19839.
 5
     11. On March 27, 2014, Plaintiff received a discharge of her Chapter 7
 6
 7       Bankruptcy.
 8
     12. The Bankruptcy resulted in no payments made to unsecured creditors and a
 9
10       complete discharge of all unsecured debts (see attached Exhibit A, discharge
11
         of debtor).
12
13   13. Defendants Kay Jewelers and Springleaf are creditors who were listed in
14
         Plaintiffs Bankruptcy Schedule (see attached Exhibit B, Creditor Matrix).
15
16   14. On April 20, 2015 Plaintiff obtained her three-bureau consumer credit report
17
         and discovered that many of the accounts that were actually included in her
18
19       2014 bankruptcy were inaccurately reporting to her credit reports.
20
21
     15. On or about April 28, 2015, Plaintiff submitted a dispute to the three national
22       credit reporting agencies, including Defendant Experian, relating to eight
23
24       accounts, including Kay Jewelers and Springleaf which were reporting the
25
         erroneous account status of “charged off” rather than “included in
26
27       bankruptcy.” The status of “charged off” is interpreted by lenders to mean
28
         that the debt is still owed and collectible by the data furnisher. At that time
29
30   COMPLAINT                                  4
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 1       Kay Jewelers was reporting inaccurately as “charged off” to all three credit
 2
         reporting agencies. Springleaf was reporting inaccurately as “charged off” to
 3
 4       TransUnion and Equifax, but reporting accurately as “included in bankruptcy”
 5
         to Experian; thus Plaintiff did not include a dispute to Experian regarding the
 6
 7       Springleaf account.
 8
     16. Plaintiff explained that the Kay Jewelers and Springleaf accounts were debts
 9
10       that were discharged in her bankruptcy and that the “charged off” status
11
         should be removed.
12
13   17. In response to Plaintiffs dispute, on or about May 7, 2015, Experian provided
14
         Plaintiff with a letter that it received a suspicious request. Experian stated that
15
16       it would not be initiating a reinvestigation based on the suspicious
17
         correspondence and that it would apply this same policy to any future
18
19       suspicious requests it received.
20
21
     18. Plaintiff called the phone number provided in Experian’s letter on or about
22       May 18, 2015, and explained to Experian that she in fact did send the dispute
23
24       request to Experian, and further requested that it initiate a reinvestigation.
25
     19. On or about May 28, 2015, Plaintiff submitted disputes directly to Kay
26
27       Jewelers and Springleaf relating to the erroneous reporting of those accounts
28
         to her credit reports.
29
30   COMPLAINT                                  5
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 1   20. Plaintiff explained that the Kay Jewelers and Springleaf accounts were debts
 2
         that were discharged in her bankruptcy and requested the “charged off” status
 3
 4       be removed.
 5
     21. On or about May 28, 2015, Plaintiff also sent a letter to Experian requesting
 6
 7       again that it initiate a reinvestigation and correct the errors on her report.
 8
     22. Experian responded to Plaintiff on or about June 1, 2015, providing a credit
 9
10       report that stated the reporting was accurate and showed no changes were
11
         made by Experian to correct the errors Plaintiff had identified on the Kay
12
13       Jewelers and Springleaf accounts.
14
     23. On or about June 23, 2015, Plaintiff received a letter from Springleaf stating
15
16       that it agreed their reporting “was indeed reporting inaccurately” and that
17
         Springleaf had submitted requests to the three national credit reporting
18
19       agencies to “adjust the reporting of [her] account accordingly.”
20
21
     24. Plaintiff submitted a letter to Kay Jewelers on or about June 29, 2015, stating
22       that she still had not received a reply from Kay Jewelers in response to her
23
24       May 28, 2015 dispute request.
25
     25. On or about June 29, 2016, Plaintiff submitted a letter to Experian requesting
26
27       Experian provide details about the method it used to verify that the reporting
28
         of the Kay Jewelers account was accurate.
29
30   COMPLAINT                                  6
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 1   26. Plaintiff submitted a letter to Experian on or about July 29, 2015, stating that
 2
         she never received a reply from Kay Jewelers in response to her May 28, 2015
 3
 4       dispute request and June 29,2015 follow-up. Plaintiff requested again that
 5
         Experian provide proof of how it came to verify its reporting was accurate and
 6
 7       why it refused to make her requested corrections.
 8
     27. On or about October 2, 2015, Plaintiff obtained her updated credit report and
 9
10       discovered that Experian was now, for the first time, reporting the Springleaf
11
         account inaccurately as “charged off”. As before, Equifax and TransUnion
12
13       were still inaccurately reporting the Springleaf account. Equifax and
14
         TransUnion corrected their reporting of the Kay Jewelers account.
15
16   28. Plaintiff submitted a dispute to Experian on or about March 29, 2016 through
17
         certified mail requesting Experian correct its reporting of the Kay Jewelers
18
19       and Springleaf accounts.
20
21
     29. On or about April 4, 2016, Plaintiff received a letter from TransUnion
22       correcting all erroneous information which it had been reporting for both the
23
24       Kay Jewelers and Springleaf accounts.
25
     30. On or about April 6, 2016, Plaintiff received a letter from Equifax correcting
26
27       all erroneous information which it had been reporting for both the Kay
28
         Jewelers and Springleaf accounts.
29
30   COMPLAINT                                 7
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 1   31. On or about April 21, 2016, Plaintiff received a new credit report from
 2
         Experian which made no changes to the inaccurate reporting of the Springleaf
 3
 4       account. Experian had made changes to the Kay Jewelers account, adding new
 5
         derogatory information to the payment history in April 2016, when the
 6
 7       account was actually closed as part of Plaintiff’s bankruptcy in November
 8
         2013. This additional derogatory payment information further harmed
 9
10       Plaintiff’s credit report and credit scores.
11
     32. Upon information and belief, Defendants failed to conduct any meaningful
12
13       investigation of Plaintiffs’ disputes.
14
     33. As a result of Defendants’ failure to adequately investigate Plaintiffs’
15
16       disputes, Plaintiff has suffered extreme emotional distress and mental anguish.
17
     34. The Defendants’ failure to accurately report the Kay Jewelers and Springleaf
18
19       accounts caused Plaintiff extreme emotional distress and mental anguish.
20
21                            FIRST CAUSE OF ACTION
                        Defendants Kay Jewelers and Springleaf
22                   Violations of the FCRA, 15 U.S.C. § 1681 et. seq.
23
24   35. Plaintiff incorporates by reference all of the above paragraphs of this
25
         Complaint as though fully stated herein.
26
27   36. The FCRA requires a furnisher such as Kay Jewelers and Springleaf, after
28
         receiving notice from a credit reporting agency that a consumer disputes
29
30   COMPLAINT                                    8
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 1       information that is being reported by that furnisher, to conduct an
 2
         investigation with respect to the disputed information, to review all relevant
 3
 4       information, to report the results of the investigation to the credit reporting
 5
         agency, and, if the investigation reveals that the information is incomplete or
 6
 7       inaccurate, to report those results to all other credit reporting agencies to
 8
         which the furnisher has provided the inaccurate information.
 9
10   37. Kay Jewelers and Springleaf have provided inaccurate information to the
11
         credit reporting agencies.
12
13   38. Plaintiff repeatedly notified Experian, TransUnion and Equifax that her credit
14
         report concerning Defendants Kay Jewelers and Springleaf was inaccurate.
15
16       Plaintiff further notified Kay Jewelers and Springleaf directly of their
17
         reporting inaccuracies. Thereafter, the credit reporting agencies notified
18
19       Defendants Kay Jewelers and Springleaf that Plaintiff was disputing the
20
21
         information it had furnished to the credit reporting agencies.
22   39. Defendants Kay Jewelers and Springleaf violated sections 1681n and 1681o of
23
24       the FCRA by engaging in the following conduct that violates 15 U.S.C. §
25
         1681s-2(a), (b):
26
27         (a) Willfully and negligently failing to conduct an investigation of the
28
                 inaccurate information that Plaintiffs disputed;
29
30   COMPLAINT                                  9
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 1         (b) Willfully and negligently failing to review all relevant information
 2
                 concerning Plaintiffs mortgage;
 3
 4         (c) Willfully and negligently failing to report the results of investigations to
 5
                 the relevant consumer reporting agencies;
 6
 7         (d) Willfully and negligently failing to report the inaccurate status of the
 8
                 inaccurate information to all credit reporting agencies;
 9
10         (e) Willfully and negligently failing to properly participate, investigate and
11
                 comply with the reinvestigations that were conducted by any and all
12
13               credit reporting agencies concerning the inaccurate information
14
                 disputed by Plaintiffs;
15
16         (f) Willfully and negligently continuing to furnish and disseminate
17
                 inaccurate and derogatory credit, account and other information
18
19               concerning both Plaintiffs to the credit reporting agencies; and
20
21
           (g) Willfully and negligently failing to comply with the requirements
22               imposed on furnishers of information pursuant to 15 U.S.C. § 1681s-
23
24               2(a), (b).
25
     40. Defendants Kay Jewelers’s and Springleaf’s conduct was a direct and
26
27      proximate cause, as well as a substantial factor, in causing serious injuries,
28
        damages and harm to Plaintiff that are outlined more fully above, and as a
29
30   COMPLAINT                                  10
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 1       result, Defendant is liable to compensate Plaintiff for the full amount of
 2
         statutory, actual and punitive damages, along with attorneys’ fees and costs, as
 3
 4       well as other such relief, permitted by 15 U.S.C. § 1681n.
 5
 6
 7                             THIRD CAUSE OF ACTION
 8
                                    Defendant Experian
 9                   Violations of the FCRA, 15 U.S.C. § 1681 et. seq.
10
11   41. Plaintiff incorporates by reference all of the above paragraphs of this
12       Complaint as though fully stated herein.
13
14   42. The FCRA provides that if the completeness or accuracy of any item of
15
         information contained in a consumer’s file at a consumer reporting agency is
16
17       disputed by the consumer and the consumer notifies the agency directly of
18
         such dispute, the agency shall conduct a reasonable reinvestigation to
19
20       determine whether the disputed information is inaccurate, or delete the item
21
         from the file within thirty (30) days of receiving the consumer’s dispute
22
23       notice. 15 U.S.C. § 1681i(a)(2)(A).
24
     43. The Act further requires the credit reporting agency, within 5 business days of
25
26       receiving notice of the consumer’s dispute, to provide notification of the
27
         dispute to the person who furnished the information in dispute and requires the
28
29       credit reporting agency to “include all relevant information regarding the
30   COMPLAINT                                 11
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 1       dispute that the agency received from the consumer.” 15 U.S.C. §
 2
         1681i(a)(2)(A). In conducting its reinvestigation of disputed information in a
 3
 4       consumer report, the credit-reporting agency is required to “review and
 5
         consider all relevant information submitted by the consumer.”
 6
 7   44. The Defendant, a credit-reporting agency, failed to conduct a reasonable
 8
         reinvestigation of the inaccuracy that the Plaintiff disputed.
 9
10   45. The Defendant, a credit-reporting agency, failed to review and consider all
11
         relevant information submitted by the Plaintiff.
12
13   46. The Defendant, a credit reporting agency, failed to employ and follow
14
         reasonable procedures to assure maximum possible accuracy of the Plaintiffs
15
16       credit report, information, and file, in violation of 15 U.S.C. § 1681e(b).
17
     47. As a result of the above-described violations of § 1681i and § 1681e(b),
18
19       Plaintiff has sustained damages.
20
21
     48. The Defendant’s violations of the FCRA was willful and therefore Plaintiff is
22       entitled to seek statutory and punitive damages.
23
24
                                 REQUEST FOR RELIEF
25
26         WHEREFORE, Plaintiff respectfully requests that judgment be entered
27
     against Defendant for the following:
28
29      A. Actual damages pursuant to 15 U.S.C. §§ 1681n and 1681o and 1692k(1);
30   COMPLAINT                                 12
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 1     B. Statutory damages pursuant to 15 U.S.C. § 1692k(2)(a);
 2
       C. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §§ 1681n and
 3
 4        1681o and 1692k(3);
 5
       D. Any pre-judgment and post judgment interest as may be allowed under the
 6
 7        law; and
 8
       E. For such other and further relief as the Court may deem just and proper.
 9
10
11                           DEMAND FOR JURY TRIAL
12        Please take notice that Plaintiff demands a trial by jury in this action.
13
14        DATED this 9th day of September, 2016,
15
                                                   PRICE LAW GROUP, APC
16
17                                                 By: /s/David A. Chami       ’
18                                                 David A. Chami
19
                                                   Attorney for Plaintiff RaeAnn Patton
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29
30   COMPLAINT                                13
